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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

USA,                                     )
                                         )
             Plaintiff,                  )                  8:05CR183
                                         )
       v.                                )
                                         )
MARIA PARTIDA,                           )                    ORDER
                                         )
             Defendants.                 )
                                         )



       The Clerk's Office has requested that Document Number 45 be stricken from the

record for the following reason:

             •       Duplicate document of number 44.

       IT IS THEREFORE ORDERED that the Clerk’s Office shall strike Document

Number 45 from the record.

       DATED this 3rd day of November, 2005.

                                        BY THE COURT:


                                        s/ Laurie Smith Camp
                                        United States District Judge
